                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                              No. CR13-4082-MWB
 vs.                                             ORDER CONCERNING
                                             MAGISTRATE’S REPORT AND
 LEVON DEAN, JR.,                          RECOMMENDATION REGARDING
                                               DEFENDANT’S MOTION TO
               Defendant.                             DISMISS
                                ____________________


                      I. INTRODUCTION AND BACKGROUND
        On October 23, 2013, a Superseding Indictment was returned against defendant
Levon Dean, Jr., charging him, and two co-defendants, with conspiracy to commit
robbery, in violation of 18 U.S.C. § 1951 (Count 1), robbery and attempted robbery, in
violation of 18 U.S.C. §§ 1951 and 2 (Counts 2 and 3), carjacking and aiding and abetting
carjacking, in violation of 18 U.S.C. §§2119(1) and 2 (Counts 4 and 5), possessing and
aiding and abetting the possession of a firearm in furtherance of a crime of violence, in
violation of 18 U.S.C. §§924(c)(1)(A)(ii), 924(c)(1)(C)(i) and 2, and being a felon and an
unlawful drug user in possession of a firearm, in violation of 18 U.S.C. §§ 922(g)(1),
922(g)(3), and 924(a)(2).
        On November 15, 2013, Dean filed a Motion to Dismiss Counts I, II, and III For
Lack Of Jurisdiction. In his motion, Dean argues that this court lacks jurisdiction over
Counts 1, 2, and 3 because the prosecution cannot prove the alleged conduct had an actual
impact on interstate commerce. The prosecution filed a timely resistance to Dean’s
motion.



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       Dean’s motion to dismiss was referred to United States Magistrate Judge Paul A.
Strand, pursuant to 28 U.S.C. § 636(b).             Judge Strand has filed a Report and
Recommendation in which he recommends that Dean’s motion to dismiss be denied without
prejudice to his right to move for judgment of acquittal at the appropriate time. Judge
Strand concluded that Levon’s motion is premature because the prosecution is not required
to reveal, prior to trial, that its evidence at trial will satisfy any, or all, of the essential
elements of the charged offenses. Judge Strand noted that all of the cases Dean relied on
in support of his motion were cases decided based on the evidentiary record created at
trial. Therefore, Judge Strand concluded that the earliest that the sufficiency of the
prosecution’s evidence could be determined was when the prosecution had rested its case
and recommended that Dean’s motion be denied without prejudice.                   Neither the
prosecution nor Dean have filed objections to Judge Strand’s Report and Recommendation.


                                  II. LEGAL ANALYSIS
       I review the magistrate judge’s report and recommendation pursuant to the statutory
standards found in 28 U.S.C. § 636(b)(1):
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.
              The judge may also receive further evidence or recommit the
              matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 7.1 (allowing the referral of dispositive matters to a magistrate judge but
not articulating any standards to review the magistrate judge’s report and



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recommendation). While examining these statutory standards, the United States Supreme
Court explained:
              Any party that desires plenary consideration by the Article III
              judge of any issue need only ask. Moreover, while the statute
              does not require the judge to review an issue de novo if no
              objections are filed, it does not preclude further review by the
              district judge, sua sponte or at the request of a party, under a
              de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       In this case, no objections have been filed. As a result, I have reviewed Judge
Strand’s report and recommendation under a clearly erroneous standard of review. See
Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting when no objections are
filed and the time for filing objections has expired, “[the district court judge] would only
have to review the findings of the magistrate judge for clear error”); Taylor v. Farrier, 910
F.2d 518, 520 (8th Cir. 1990) (noting the advisory committee’s note to Fed. R. Civ. P.
72(b) indicates “when no timely objection is filed the court need only satisfy itself that
there is no clear error on the face of the record”). After conducting my review, I am not
“‘left with [a] definite and firm conviction that a mistake has been committed,’” and find
no reason to reject or modify the magistrate judge’s recommendation. Anderson v. City


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of Bessemer City, 470 U.S. 564, 573-74 (1985) (quoting United States v. U.S. Gypsum
Co., 333 U.S. 364, 395 (1948)).       Therefore, I accept Judge Strand’s Report and
Recommendation and order that defendant Dean’s Motion to Dismiss Counts I, II, and III
For Lack Of Jurisdiction is denied without prejudice to his right to renew it as a motion
for judgment of aquittal at trial.
      IT IS SO ORDERED.
      DATED this 2nd day of January, 2014.


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                                               MARK W. BENNETT
                                               U. S. DISTRICT COURT JUDGE
                                               NORTHERN DISTRICT OF IOWA




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